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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE,

       Plaintiff,

       v.                                         Civil Action No. 1:22-cv-00027-TSC

ROBERT J. CONTEE III, et al.,

       Defendants.



    DEFENDANT DISTRICT OF COLUMBIA’S STATEMENT OF UNDISPUTED
   MATERIAL FACTS IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

       Defendant District of Columbia (the District), through counsel, submits the following

statement of material facts in support of its Motion for Partial Summary Judgment.

       1.      The D.C. Office of Risk Management has not received a notice from Victoria

White related to the incident that is the subject of the Complaint filed in the above-captioned

case. Declaration of Lana Craven at ¶ 5, attached as Exhibit B.

Date: July 6, 2022,                           Respectfully submitted,

                                              KARL A. RACINE
                                              Attorney General for the District of Columbia

                                              CHAD COPELAND
                                              Deputy Attorney General
                                              Civil Litigation Division

                                              /s/ Alicia M. Cullen/cc
                                              ALICIA M. CULLEN [1015227]
                                              Chief, Civil Litigation Division, Section III

                                              /s/ James A. Wiley
                                              ROBERT A. DEBERARDINIS, JR. [335976]
                                              Senior Assistant Attorney General
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                                            Robert J. Contee III




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       Admitted to practice only in the State of California. Practicing in the District of
Columbia under the direct supervision of Alicia Cullen, a member of the D.C. Bar, under D.C.
Court of Appeals Rule 49(c)(4).
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